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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                   EL PASO DIVISION

LEAGUE OF UNITED LATIN                          §
AMERICAN CITIZENS, et al.,                      §
                                                §
               Plaintiffs,                      §
                                                §
EDDIE BERNICE JOHNSON, et al.,                  §
                                                §
                                                          EP-21-CV-00259-DCG-JES-JVB
               Plaintiff-Intervenors,           §
                                                                  [Lead Case]
v.                                              §
                                                §
GREG ABBOTT, in his official capacity as        §
Governor of the State of Texas, et al.,         §
                                                §
               Defendants.                      §


VERONICA ESCOBAR, U.S.                          §
Representative of the 16th Congressional        §
District of Texas, et al.,                      §
                                                §
               Plaintiffs,                      §
                                                          Case No. 3:22-CV-00022-DCG
v.                                              §
                                                               [Consolidated Case]
                                                §
GREG ABBOTT, in his official capacity as        §
Governor of the State of Texas, et al.,         §
                                                §
               Defendants.                      §
                                                §

                                            ORDER

        Plaintiffs Veronica Escobar and Ramsey English Cantu move to voluntarily dismiss their

claims under Rule 41(a)(1) of the Federal Rules of Civil Procedure. Defendants are unopposed.

In view thereof, the Court enters the following orders:

        IT IS ORDERED that Plaintiff Veronica Escobar and Ramsey English Cantu’s

“Unopposed Motion for Nonsuit” (ECF No. 361) is GRANTED.


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       IT IS FURTHER ORDERED that Defendant’s “Motion to Dismiss the Escobar

Plaintiffs’ First Amended Complaint” (ECF No. 287) is DENIED AS MOOT.

       IT IS FURTHER ORDERED that the District Clerk shall TERMINATE Plaintiffs

Veronica Escobar and Ramsey English Cantu from the above-captioned lead case.

       IT IS FURTHER ORDERED that the District Clerk shall ENTER this Order on the

docket for Escobar v. Abbott, No. 3:22-cv-00022 (W.D. Tex.) and CLOSE that case.

       So ORDERED and SIGNED this 23rd day of June 2022.



                                                ____________________________________
                                                DAVID C. GUADERRAMA
                                                UNITED STATES DISTRICT JUDGE

                                        And on behalf of:

 Jerry E. Smith                                             Jeffrey V. Brown
 United States Circuit Judge                   -and-        United States District Judge
 U.S. Court of Appeals, Fifth Circuit                       Southern District of Texas




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